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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

JUSTIN BEISEL,

                 Plaintiff,                                 Case No.: 4-18-cv-208-TWP-DML

v.

CHIPOTLE MEXICAN GRILL, INC.,

                 Defendant.


                       JOINT MOTION FOR APPROVAL OF SETTLEMENT

          Come now the Plaintiff Justin Beisel, by and through his attorney, and Defendant

Chipotle Mexican Grill, Inc., by and through its attorney, and hereby move this Honorable Court

for an order approving the proposed settlement, which is attached hereto. The parties agree that

this settlement is fair, adequate, and reasonable, and ask that it be granted final approval by the

Court. In support of this motion, the Parties state as follows:

          1.        Plaintiff initiated this lawsuit asserting claims including violations of the Fair

Labor Standards Act (“FLSA”) and the Indiana Wage Payment Act (“IWPA”). Specifically,

Plaintiff alleged in Complaint that he was not paid for his first three weeks of employment,

having worked approximately 30 hours each week at his hourly rate of $10.30. As a result,

Plaintiff’s Complaint sought approximately $927.00 in unpaid wages, plus liquidated damages

and attorney’s fees and costs. After receiving Plaintiff’s Complaint, Defendant engaged in an

investigation into his claims. The parties diligently pursued resolution of this matter through

respective counsel. On February 25, 2019, the parties reached a tentative settlement agreement.

That agreement has been memorialized in the attached settlement agreement. The parties now

seek final approval of the settlement by this Court. See Exhibit 1, Settlement Agreement. Of the

$3,000.00 paid as part of this Settlement Agreement, Plaintiff will be paid $1,386.21
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representing settlement of his claims for unpaid wages and liquidated damages and $1,613.79

representing his claims for attorney’s fees and costs (inclusive of $400.00 in costs advanced by

Plaintiff’s counsel).

          2.     The settlement compensates the Plaintiff for back wages, liquidated damages, and

attorneys’ fees. The settlement satisfies the Plaintiff and his attorney and will be paid in

accordance with applicable wage and hour laws. The settlement avoids protracted litigation,

continuing attorneys’ fees, deposition costs, and costs associated with trial.

          3.     Courts have held that a settlement agreement of a lawsuit involving FLSA claims

may be made only with approval of the Court or with the Department of Labor. See e.g., Roberts

v. Apple Sauce, Inc., No. 3:12-cv-830-TLS, 2014 WL 4804252, at *1 (N.D. Ind. Sept. 25, 2014);

Sanders v. Connan’s Paint & Body Shop, LLC, No. 1:14-cv-01725-SEB-DKL, 2015 WL

5692542, at *4, n. 6 (S.D. Ind. Sept. 28, 2015) (noting that the Seventh Circuit has ruled that

judicial approval of FLSA settlements is necessary”); Burkholder v. City of Ft. Wayne, 750 F.

Supp. 2d 990, 994–95 (N.D. Ind. 2010) (“stipulated settlements in a FLSA case must be

approved by the Court[.]”) (citations and quotations omitted).

          4.     Before approving an FLSA settlement, the Court must review it to determine if it

 is a fair and reasonable resolution of a bona fide dispute. See e.g., Roberts, 2014 WL 4804252,

 at *1; Sanders, 2015 WL 5692542, at *4.         “Generally speaking, if the proposed settlement

 reflects a reasonable compromise over contested issues, the court should approve the

 settlement.” Brice Ikby Binissia and Halina Suchecka, et al., v. ABM Industries, Inc., et al., No.

 13 Civ. 1230, 2017 WL 4180289, at * 3 (N.D. Ill. Sept. 21, 2017).

           5.    "Furthermore, 'courts may enter judgments on a basis that does not require full

 payment of liquidated damages after scrutinizing the proposed settlements for fairness.'"

 Burkholder, 750 F. Supp. 2d at 995 (quoting Misiewicz v. D’Onofrio Gen. Contractors, No. 08-
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 CV-4377 (KAM)(CLP), 2010 WL 2545439, at *3 (E.D.N.Y. May 17, 2010)). Additionally,

 “[w]here a proposed settlement of FLSA claims includes the payment of attorney’s fees, the

 court must also assess the reasonableness of the fee award.” Id. at 336; see also 29 U.S.C. §

 216(b) (“The court in such action shall, in addition to any judgment awarded to plaintiff or

 plaintiffs, allow a reasonable attorney’s fee to be paid by the defendant...”).

          6.     As a general rule, federal courts favor settlement of such litigation. Isby v. Bayh,

75 F.3d 1191, 1196 (7th Cir. 1996).

          7.     The Parties have been represented throughout this litigation by counsel who are

deeply experienced in wage and hour litigation and recognize the benefit of a settlement rather

than protracted litigation. The settlement agreement was negotiated at arm’s length by

experienced counsel who throughout the Parties’ settlement discussions vigorously represented

their clients’ interests. This is certainly a compromise over contested issues and a bona fide

dispute, including but not limited to Plaintiff’s claims for liquidated damages under the FLSA

and Indiana law. The Parties exchanged settlement demands and counter-demands, and

exchanged pay and electronic time clock records that allowed meaningful analysis of potential

damages were Beisel to prevail in this case. Factors indicating fairness are present, including the

fact that the parties thoroughly investigated the issues; that the parties conserved substantial time

and expense that would have been required had the case gone to trial; and that, by settling,

Plaintiff is assured a reasonable recovery on his claims, thereby avoiding the uncertainties

associated with further litigation.

          8.     The Parties agree that this settlement fairly and adequately resolves the claims in

this matter. See Burkholder, 750 F. Supp. 2d 990 at 995 (“Normally, a settlement is approved

where it is the result of contentions arm’s-length negotiations, which were undertaken in good

faith by counsel … and serious questions of law and fact exist such that the value of an
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immediate recovery outweighs the mere possibility of further relief after protracted and

expensive litigation.”) (citations and quotations omitted).

                                           CONCLUSION

          The settlement entered into by and between Plaintiff and Defendants secures both

efficiency and justice. For the reasons stated above, this settlement should be approved, and the

parties jointly pray for an Order: (1) finding that the settlement is fair, adequate and reasonable;

(2) approving the settlement in its entirety.

          WHEREFORE, the parties respectfully request this Honorable Court enter an Order

approving the attached/proposed settlement.




          Respectfully Submitted,


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